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                 EXHIBIT 3
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                                 ASSIGNMENT OF COPYRIGHTS




                         The undersigned ("Assignor"), for and in con-
               sideration of the sum of $1.00 (One Dollar) and other
               valuable consideration, the receipt of which is hereby
               acknowledged, hereby sells, conveys and assigns to
               BURTON CUMMINGS, d/b/a SHILLELAGH MUSIC, c/o Abraham
               Somer, Esq., Mitchell, Silberberg & Knupp, 1800 Century
               Park East, Los Angeles, California 90067 ("Assignee"),
               his successors and assigns, Assignor's right, title and
               interest in and to each of the musical compositions listed
               on Schedule A annexed hereto and made a part hereof, and
               such right, title and interest as Assignor possesses in
               the copyright therein and thereto for the initial term of
               copyright and any and all renewal terms (to the extent of r
               Assignor's right thereto), as same may have been or may
               be extended, whether presently or in the future, and
               whether vested or contingent, under the laws now or here-
               after in effect in the United States of America and in
               all other countries of the world, including the benefit
               of any and all claims, dema·nds, actions and causes of action
               of Assignor against others relating to each of said musical
               compositions, whether or not such claims, demands, actions
               or causes of action accrued prior to the date hereof or
               shall accrue hereafter, and all other rights of Assignor
               of every kind, nature or description attaching to or which
               may attach to each of said musical compositions or which
               are embraced or included in said copyright, in accordance
               with an agreement between Assignor and Assignee dated as
               of July 23, 1980 (executed October 2, ·1980).
                           Assignor warrants and represents that Assignor
               acquired the rights assigned hereby pursuant to an agreement
               dated January 31, 1974 (as of June 1, 1973) among the Assignor,
               Expressions Music Limited, Walrus-Moore Music, Ltd. and B.L.C.
               Ltd., and under other agreements annexed as exhibits thereto,
               and has not heretofore conveyed, assigned or encumbered or
               attempted to convey, assign or encumber any of its right,
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        ASSIGNMENT OF COPYRIGHTS




        title or interest in or to any such musical composition
        or any copyright, renewal right or other rights therein
        or thereto acquired as stated above.
                    IN WITNESS WHEREOF, Assignor has executed this
        instrument this      10th day of   _____  ........__ , 1980.
                                             Decemher
        Province of Ontario      )      NIMBUS
        In the Municipality      )
         of Metropolitan         )
Toronto, Ontario, Canada         )


                    on   December 10          , 1980 there appeared before
        me         David McLey            , President of Nimbus 9
           ----------------
        Productions Limited, who acknowledged to me that he executed
        the aforesaid assignment by order of the Board of Directors
        of said corporation.



                                                NO~i?7"PUBLIC
                                           My commission




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                                  SCHEDULE "A"

                                                         U.S. COPYRIGHT
· TITLE                        COMPOSER(S)               REGISTRATION ~O.                          DATE
 ALBERT. FLASHER              Burton Cummings            EFO-148241                                3/25/71
 ALL HASHED OUT               Burton Cununin~s/          EFO-160826                                1/30/73
                              K. Winter/B. Wallace
 AMERICAi.'l WOMAN            Burton Cummings/           EFO-140219                                2/13/70
                              R. Bachman/J. Kale/
                              G. Peterson
 Ai.\JSWER (THE)              Burton Cummings/           EFO-142024                                5/1/70
                              R. Bachman

 ARRIVEDERCI GIRL             Burton Cummings            EFO-154337                                2/14/72

 ATTILA'S BLUES                                          EFO-170894                                6/10/74

 BACK TO THE CITY             Burton Cummings/           EFO-155199                                3/9/72
                              K. Winter

 BALLAD OF THE LAST                                      EFO-171690                                8/5/74
   FIVE YEARS
 BROKEN                       Burton Cummings/           EFO-148242                                3/25/71
                              K. Winter
 BUS RIDER                    K. Winter                  EFO-144278

 BYE BYE BABE                 K. Winter/B. Wallace       EFO-160833

 CARDBOARD EMPIRE             K. Winter/B. Wallace       EFO-165414

 CLAP FOR THE WOLFMAN                                    EFO-171691                                8/5/74

 COMI!-J' DOWN OFF THE         G. Leskiw                 EFO-144775
   MONEY BAG

COORS FOR SUNDAY                                         EFO-178269                                8/7/75

 DA::-JCIN I FOOL                                        EFO-176280                                4/4/75

 DIGGI~' YOURSELF                                        EFO-176281                                4/4/75

 DIRTY                                                   EFO-176725                                5/1/75

 DO~ IT YOU WAJ.'lT ME         Burton Cummings           EFO-155197                                3/9/72

 DOWN .~D OUT WOMAN                                      EFO-178268                                8/7/75

 DO YOU MISS ME DARLIN'        B. Cummings/K. ~·:.inter EFO-144778                                 10/8/70

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                                             SCHEDULE "A"

                                                                      U.S. COPYRIGHT
            TITLE                      COMPOSER(S)                    REGISTR.!\.TION ~O.          DATE
            DREAf.15                                                 EFO-178261                    8/7/75
                                                                     EFO-140540                    3/16/70
            E-YE                                                     EFO-176724                    5/1/75
            FAIR WARNING                                             EFO-141524                    3/15/70
            EIDDLIN'                   Burton Cummings/K.Winter EFO-151097                         8/30/71.
            FLAVOURS                   Burton Cummings/
                                       Domenic Toriano
            FOLLOW YOUR DAUGHTER       Burton Cummings/              EFO-160827                    1/30/73
              HOME                     D. McDougall/K. Winter/
                                       G. Peterson/B. Wallace
            FRIENDS OF MINE                                          EFO-138255                    11/6/69
            GET YOUR RIBBONS ON        Burton Cummings/K.Winter EFO-154434                         2/22/72
            GLAMOUR BOY                Burton Cummings               EF0-165116                    9/21/73
            GOIN' A LITTLE CRAZY       Burton Cummings/K.Winter EFO-151098                         8/30/71
            GOT TO FIND ANOTHER                                      EFO-140897                    3/25/70
              WAY
            GREY DAY                   G. Leskiw                      EFO-151103
            G'GESS WHO BLUES           Burton Cummings/J. Kale
                                       G. Peterson/
                                       R. Bachman
            GUNS, GUNS, GUNS           Burton Cummings                EFO-154435                   2/22/72
            HAJ.\1BA GAHLE-USALANG     Burton Cummings                EFO-160828                   1/30/73
              GAHLE                    K. Winter/B. Wallace
            HAND ME DOWN WORLD         K. Winter                      EFO-145226
            HANG ON TO YOUR LIFE       Burton Cummings/K.Winter EFO-144780                         10/8/70
            HEARTBROKEN BOPPER         Burton Cummings/K.Winter EFO-154338                         2/14/72
            HERBERT'S A LOSER          K.Winter/G.Leskiw              EFO-155195
            HOE DOWN TIM E                                            EFO-176282                   4/4/75

            HUMPTY I s BLUES           Burton Cummings/I.Kale         EFO-140553                   3/16/70
                                       G.Peterson/~.3ac~man
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                                        SCHEDULE "A"

                                                                  U.S. COPYRIGHT
'TITLE                        COMPOSER ( S)                       REGISTRATION NO.                DATE
I FOUND HER IN A              Burton Cummings                     EFO-138258                      11/12/69
 STAR
JUST LET ME SING              Burton Cummings                     EFO-165415                      9/24/73
KEY                                                               EFO-138245                      9/6/69
LAUGHING                                                          EFO-138550                      11/24/69
L.IE DOWN                     Burton Cummings                     EFO-165413                      9/24/73
LIFE IN THE                   Burton Cu.--:unings                 EFO-151106                      8/30/71
 BLOO DSTREAL"l

LIGHTFOOT                                                         EFO-138254                      11/6/69
I:.ONG GONE                                                       EFO-176723                      5/1/75
LOVE AND A YELLOW                                                 EFO-138253                      11/6/69
  ROSE
LOVES ME LIKE A                                                   EFO-176722                      5/1/75
  BROTHER
MAPLE     FUDGE                                                   EFO-138257                      11/12/69
MINSTREL BOY                                                      EFO-138262                      11/12/69
MISS FRIZZY                                                       EFO-142017                      5/1/70
MOAN FOR YOU JOE              Burton Cummings/                    EFO-145228                      10/8/70
                              G. Leskiw
MR. NOTHIN'                                                        (EF) 3419 7                    11/12/69
MUSIC IONE                    Burton Cummings/K.Winter/EFO-165412                                 9/24/73
                              B.Wallace/G.Peterson/
                              O.McDougall

i:~EW MOTHER NATURE           Burton Cummings                     EFO-140552                      3/16/70
NOBODY KNOWS HIS                                                  EFO-176636                      5/ 8/75
 NAME
NO TIME                                                           EFO-138264                      11/12/69
OF A DROPPING PIN                                                  (EF) 3419 8                    11/12/69

OLD JOE                       Burton Cummings                     EFO-138261                      11/12/69
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                                                                                                     •
                                  SCHEDULE "A"

                                                     U.S. COPYRIGHT
TITLE                    COMPOSER ( S)               REGISTRATION NO.                      DATE
ONE DIVIDED              G. Leskiw                   EFO-151102
ONE MAU ARMY             Burton Cummings/            EFO-151099                            8/30/71
                         K. Winter
ONE WAY ROAD TO HELL                                 EFO-170892                            6/10/74
ORLY                     Burton Cummings            • EFO-160 829                          1/30/73

PAIN TRAIN               Burton Cummings/            EFO-151100                            8/30/71
                         K. Winter
PALMYRA                  Burton Cummings/            EFO-142026                            5/1/70
                         R. Bachman
PINK WINE SPARKLES       Burton Cummings/            EFO-138252                            11/6/69
 IN THE GLASS (THE)      R. Bachman
PLEASIN' FOR REASON                                  EFO-171692                            8/5/74

POWER IN THE MUSIC                                   EFO-178267                            8/7/75

PROPER STRANGER          Burton Cummings/            EFO-140218                            2/13/70
                         R. Bachman
AAIN DANCE               Burton Cummings/            EFO-151101                            8/30/71
                         K. Winter

RICH WORLD, POOR                                     EFO-178266                            8/7/75
  WORLD
ROAD FOOD                                            EFO-171693                            8/5/74

ROCK AND ROLLER STEAM     K.Winter/B.Wallace         EFO-160832

ROSANNE                                              EFO-178265           ,._        ,:-
                                                                    • ' ~.., ~•!I( .....
                                                                                           8/5/75

RUNNIN' BACK TO           Burton Cu.i'1t!tlings/     EFO-15 773_1\\\.                      8/14/72
  SASKATOON               K. Winter
RUUNIN' DOWN THE          J.Kale/G. Peterson         EF-35562
                                                                       - .-:.~
  STREET
SEEMS LIKE A CAN'T                                   EFO-176283                            4/4/75
  LIVE WITHOUT YOU

SELF PITY                  Burton Cu.i-nmings        EFO-165411                            4/24/73

SHARE THE LAND             Burton Cummings           EFO-144776                            10/8/70
 (PRENDS MA MAIN)
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                                                SCHEDULE "A 11
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                                                                           U.S. COPYRIGHT
         TITLE                        COMPOSER(S)                          REGISTRATION NO.           DAT'S
         SHE ('1IGHT HAVE BEEN        Burton Cummings                      EFO-151105                     8/30/7
          A NICE GIRL
         SHOPPI~G BAG LADY                                                 EFO-178264                     8/7 /75

         .SILVER BIRD                 Burton Cummings/                     EFO-141521                     4/15/7
                                      R. Bachman
         SMOKE BIG FACTORY            Burton Cummings/J. Kale/             EFO-154436                     2/22/7
                                      K. Winter
         SO LONG BANNATYHE            Burton c~~.mings/K. Winter           EFO-151107                     8/30/7

         SONG OF THE DOG              Burton Cummings                      EFO-144777                     10/8/7

         SOUR SUITE                   Burton Cummings                      EFO-151104                     8/30/7

         SPECIES HAWK                 Burton Cummings/                     EFO-142654                     6/15/7
                                      R. Bachman
         STAR BABY                    Burton Cummings                      EFO-167959                     1/30/7

         STRAIGHTEN OUT                                                    EFO-170893                     6/10/7

         TAKE IT OFF MY               Burton Cummings/                     EFO-165410                     9/24/7
           SHOULDERS                  D. McDougall
         TALISMA.'1                   Burton Cummings/R.Bachman            EFO-140551                     3/16/7

         'I'HESE EYES                 Burton Cummings/R.Bachman            EFO-138549                     11/24/
            U1ES YEUX)

         THOSE SHOW BIZ SHOES Burton Cummings                              EFO-160831                     1/30/7

         THREE MORE DAYS              Burton Cummings/K.Winter             EFO-144779                     10/8/7

         TRUCKIN' OFF ACROSS          Burton Cwnmings/J.Kale/              EFO-157738                     8/14/7
           THE SKY                    D.Mcdougall/G. Peterson/
                                      K.Winter

             UNDUN                     Randy C. Bachman                     EFO-138236

             VERY FAR FROM NEAR        Burton Cummings                      EFO-141255                     4/13/"

             WATCHER (THE)             Burton Cummings/B.Wallace            EFO-160830                    1/30/"

             WE I RE C0~1IN' TO        Burton Cummings/R.Bachman            EFO-138256                    11/6/E
               DINNER

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                                        Case 6:24-cv-00649-JA-DCI Document 1-3 Filed 04/04/24 Page 9 of 9 PageID 30
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                                                                       SCHEDULE "A"
                                                                                              U.S. COPYRIGHT
                                       TITLE                   COMPOSER (S)                   REGISTRATION NO.        DATE

                                       WHEN FRIENDS FALL       Burton Cummings/               EFO-140217              2/13/70
                                         OUT                   R. Bachman
                                       WHEN THE BAND WAS                                      EFO-178263              8/7/75
                                        s IN GIN I "SHAKIN I
                                           ALL OVER"
                                       WHEN YOU TOUCH ME       Burton Cummings/               EFO-138259              ll/12/6S
                                                               R. Bachman/R. Matheson
                                       WOMEN                                                  EFO-178262              8/7/75

                                       YOUR NASHVILLE          Burton Cummings                EFO-155198              3/9/72
                                         SNEAKERS




                                                                              -6-
